Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 1 of 13




             Mehta Decl.
              Exhibit N
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 2 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 3 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 4 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 5 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 6 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 7 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 8 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 9 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 10 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 11 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 12 of 13
Case 3:24-cv-09019-AMO   Document 25-15   Filed 12/17/24   Page 13 of 13
